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EXHIBIT B
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Case 1

“JON 2y!9eds-sasnyoeynuew

® Aq paynuap! you si YaIuM UlDAWOIUeA
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JO 3S05,, Papua |es9UaD
40}DadSU] JO 9210

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Case 1

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Case 1

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pue UoNSe S14 JO UOHNISU! B43

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Case 1

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WU/ET'S

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40 B94n0s e SEM aleD-y-UdA ‘AJEUORIppY

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Pajeijo#au adesane josazngye 40) \daaxa
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do pnpodd Bnsp ‘sasnjoejnuew yuepuajaq
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uoljewoyul ajqeyljuap! Ajipeay ON

pue ‘pnesy yo uoeBaye ON

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Case 1

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Case 1

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Case 1

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Case 1

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Case 1

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Case 1

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Case 1

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Case 1

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Case 1

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pue ‘pnedy jo uonesaye oy

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Case 1

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(%ST-dM\v) JuUnOWe 34) PUOAag pazUNodsip a1aM,, YAYM sard ,jeydsoy,, se
saoud mo] 2y3 Suuasaid sem GUN SMOYS puora, (eUCISSasBU0D Z66T Ane
94} JO UOJsuaA 11NJ B4A ("TOE pue S6z ‘98z "d-— “XA ‘9aq UOSJEpUY aas)
“dV 40 $30 %ST puoAag SjUNODsIp SugIad asam ‘aoueIsUt JO4 ‘Japio jew pue
‘SOWH ‘sjeuidsoy se yons salseweyd |ie}e2-WOU Ajuo yey] sem julod S,QUYN
"867 pue sez “die “pi _, Sead jeydsou,, aq 0} payuasaidad alam Saad
Jedd BSay! ‘seIUd MO} BUIAIaI_, a1aM SalJeweYd [12381 MOYS 0} ssa23U0D
0} sand aseonig yj apiaosd jou pip GuYN (‘08z ‘d psove. |eUOISsauBU0 utes301g
Z66T Aint -__ ‘UXg ‘99q UOSJapuy vas) + ,SadlAJas jesNNaIeWeYd /ayeqay Bnjg vondusseld
“syunodsip yons Aue aaiazal JOU pinoo plesipayy ay} yo %Sg Ajseau,, 10} ajqisuodsa, ,salpeWseyd Juapuadapul as ‘day yo asnoH
Adu) ssas8u0D Buiwoyur AjaAewsiye sem 000‘0r,, Paluasasdas QUYN ‘saizeuueUd je}as sam SuaqUWaW S,QYYN| a2saWWWOD pue Adi2@Ug
Ageuueyd jleyas ‘Asez]U09 9401 “dMV JO (6Z b 30S ROGgY 825) Sd PeUsIIgnd pue (UoIjeZIURZJO 5}! Jo ssoquualu uO sd}WWWOD ay} fSdW
HO %ST papaaoxa yaiuM saieueyd pees 0} a[qeyiene) seaid 19e43U09 9u} Jo UOSIuediuO) eB pawns, (,0YYN,)| JO JUaUUOJIAU a4) pue 40S -9T
0} ajqeyleae squnoasip Aue yo uoNesyUap! $4SI38nig [eyay JO UOHeNOSSYy JBUCIeN a4) 3eU3 UOHIsOdold ayy 404 (TT) YeaH UO ayWWosgns suyesy x3 ‘GL
ou pue ‘pneay Jo uonesaije ON N Al “UX3 G.LW 22) 9T “Uxg JOS aie/dwoour AjBuipeaisiu Ss}! $a}! Ajasjey Boggy ay] aiojaq Buyseay, jeuoissasBuoy| Te 20 766T| - TT Xa) Aa voqay
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YORRWOJU! a|qey Uap} Aljpees ON $7s02 jeny3e
pue ‘pnevy jo ucijeare on N Al pue dMy pavoday uaamjaq saquasayip adesane Jo UOISSNaSIp pazijesauad| wapeay-pjesa}] UOIBUIXS]; EIPANSMAN| SOZOZ86T| ELIeL auexoy
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